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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY

                                                   X


 OSHER ROTKIN,                                         Civil Action No. : 3:17 -cv-0257 4


                              Plaintiff,               AMENDED COMPLAINT FOR
               -against-                               VIOLATIONS OF THE
                                                       TELEPHONE CONSUMER
                                                       PROTECTION ACT

 BANK OF AMERICA
                                                               a

                              Defendant(s).            DEMAND FOR JURY TRIAL



                         INTRODUCTION/PRELIMINARY STATEMENT


       Plaintiff OSHER ROTKIN ("Plaintiff'), by and through his attorney, M. Harvey

Rephen & Associates, P.C. by Edward B. Geller, Esq., P.C., Of Counsel, as and for his

Complaint against the Defendant BANK OF AMERICA, (hereinafter referred to as

Defendant(s)"), respectfully sets forth, complains and alleges, upon information and

belief, the following:


                         INTRODUCTION/PRELIMINARY STATEMENT

       1.      Plaintiff brings this action on his own behalf for damages and declaratory

and injunctive relief arising from the Defendant's violation(s) under Title 47 of the United

States Code, 5227 commonly known asthe Telephone Consumer Protection Act ffCPA).

       2.      Defendant is subject to, and required to abide by, the laws of the United

States and the State of New Jersey, which include the Telephone Consumer Protection
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   Act of 1991' 47 U'S'C' 5227, et seq. ("TCPA")
                                                 and its related regulations, including 47
  'c'F'R'
          564'1200 (TCPA Regulations"), as wellas the opinions,
                                                                    regulations and orders
  issued by the Federal communications
                                           commission to imptement and enforce
                                                                                   the
  TCPA' the telemarketing regulations issued
                                              by the Federat rrade commission,
                                                                                    16
  c.F.R. 5310.4(dx2).

                                            PARTIES
            3.    praintiff osHER
                                  RorKrN is a resident of the state of
  NEw JERSEY residing at 1 Kedma Drive,
                                        Lakewood, NJ!g701.
            4.   Defendant BANK OF AMERICA has a Corporate

  Headquarters rocated at 100 NoRTH
                                    TyRoN                   cHARLorrE, Nc 2gz5s.
                                                  'TREET



                                JURISDICTION AND VENUE

         5.      The court has jurisdiction over this matter pursuant
                                                                      to   @_$1"e31       and
 28   u's'c' $2201'  lf applicable, the court also has pendent jurisdiction
                                                                            over the state law
 claims in this action pursuant to 2g U.S.C.
                                               S1367(a).
        6'Venueisproperinthisjudicialdistrictpursuantto@.
                                 FACTUAL ALLEGATIONS
        7   '  Plaintiff repeats, reiterates and incorporates
                                                                the allegations contained in
paragraphs numbered "1" through "6"
                                         herein with the same force and effect
                                                                               as if the same
were set forth at length herein.
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       8.      On or about August 4, 2016, Defendant began communicating with the

Plaintiff by placing automated calls and texts to his cell phone numbers of 848-238-4gl}

and 848-238-4973 and 848-299-797         1.

       9.      Plaintiff realized the calls received from Defendant were from an automated

telephone dialing system (ATDS) because there was never a live person on the line and

the voice always seemed to be mechanized.

       10.      On August 5, 2016 the Plaintiff called the Defendant and was connected

with a male representative named "Ernesto".

        11.    The representative asked for the Plaintiffs   n"ir"   and account number. The

representative then asked if the Plaintiff was on the account and the name of his wife.

       12.     The Plaintffi gave the representative the name of his wife and stated that he

is not on the account.

       13.     The representative asked if the Plaintiffs wife was available to talk and the

Plaintiff stated no.

       14.     The representative explained that he would not be able to assist the Plaintiff

at this time since he is not on the account and he could have his wife call in to get

information.                                      1




     15. The Plaintiff explained he was the one getting the calls.
     16. The representative confirmed the fact that the Plaintiff was the one getting
the calls on his wife's account and the Plaintiff stated that he did not want to be contacted

any more by texts or autodialed calls.
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           17.    The representative apologized for the calls and stated that he did not see

    on the records the information that the Plaintiff was the one being contacted on his wife's
I



    account.

           18.    The Plaintiff said that he would give the representative his phone numbers

    that he was being contacted on and the representative tried to give him a customer

    service number that he could call instead. The representative also asked for the second

    time if the Plaintiff's wife was available to speak with.

           19.    The Plaintiff said no, his wife was not available, gave the representative his

    phone numbers and stated that he did not want to be clntacted by autodialer. He

    reiterated that they were the ones contacting him that he gave his statement and the call

    was concluded.

           2A. After the conclusion of the call and the request for the calls and texts to stop
    the Defendant continued to calland text the Plaintiff. Since the start of the calls and texts

    to Plaintiffs cell phone numbers there have been at least 465 calls made by Defendant

    between the dates of August 5,2016 and March 1,2A17 placed to the Plaintiffs cell

    phones, as well as at least   I   texts on August 4,2A17 and 3 voicemails between the dates

    of September 23, 2A16 and February 28, 2017.



                                       FIRST CAUSE OF ACTION
                                        (Violations of the TCPA)

           21.    Plaintiff repeats, reiterates and incorporates the allegations contained in

    paragraphs numbered "1' through "20" herein with the same force and effect as if the

    same were set forth at length herein.
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           22.   According to the Telephone Consumer Protection Act 47 USC

                                                                         States, or any
I   S227(bXAXiii), "lt shall be unlawfulfor any person within the United

    person outside the United States if the recipient is within the United States (A) to make

    any call (other than a call made for emergency purposes or made with the prior consent

    of the called party) using any automatic telephone dialing system or an artificial or pre-

    recorded voice-- (iii) to any telephone number assigned to a paging service, cellular

    telephone service, specialized mobile radio service, or other radio common carrier

    service, or any service for which the called parry is charged for the call, unless such call

    us made solely to collect a debt owed to or guaranteed bV thl United States."

           2g.    lt has been determined that the statute language adding "o/' any service

    for which the called party is charged, is not accurately interpreted to require that Plaintiff

    must claim that Defendant's calls incurred charges. See Breslow c. Wells Fargo, Bank.

    N.A. 8S7 F. Supp 2d 1316, 1319 (S.D . Fla.2012) and Cavero v. Franklin Collection

     5eru.. lnc,,2O12WL27}448 (S.D. F\a.2012\. A number of Courts have addressed the

    issue of a Plaintiff being charged with all agreeing that the TCPA does not require a

    plaintiff who received calls on his/her celt phone to allege that he/she was charged for

    the call. For example, in Manno v.Healthcare Revenue Recovery Gm., LLC, 289 F.R.D.

    674 (S.D. Fla. 2013), the Court held that "The TCPA does not require the plaintffi to be
    'charged for' the calls in order to have standing to sue." ln Osario v., State Farm Bank,

                                                                            'any service for
    F.S.B., 746 F.3d 1242 (11th Cir. 2A14), the Court stated: lf the phrase

    which the called party is charged for the call' requires that the party be charged per call

    for the 'paging service, cellular telephone service, specialized mobile radio service, or

     other radio common canier service' in order for the party to prohibit autodialed calls,
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 then the listing of these services would be superfluous because they are already

 included under them 'any service for which the called party is charged.' On the other

 hand, reading 'any service for which the called party is charged for the call' as an

 additional item beyond any call to a 'paging service, cellular telephone service,

 specialized mobile radio service, or other common carrier service,' regardless of

 whether the called party is charged, gives independent meaning to each term."

        24.    lt is thus clear from the plain language of the TCPA, and its considerable

 body of resultant case law that the TCPA is violated when a cellular telephone is called

 with an automatic dialer without consent, even if no chargeJ    ,r"   alleged or incurred.

        25-       With the autodialed calls to Plaintiffs telephone commencing on or about

 July 12, 2A16 and continuing at a rate of approximately (465) times thereafier, the

 Defendant violated various provisions of the TCPA, including but not limited to 47 USC

 s227(bXAXiii).


        26.    The Defendant, having been informed that Plaintiff requested that no

 further calls be received, willfully violated the TCPA at least (465) times.


        27.    Pursuant to the TCPA Omnibus Declaratory Ruling and Order, July 2A15,

 paragraphs 138 and 139, communications from banking institutions which are exempt

 "...are all intended to address exigent circumstances in which a quick, timely

 eommunication with a consumer could prevent considerable consumer harms from

 occuning or, in the case of the remediation calls, could help quickly mitigate the extent

 of harm that will occur." Pursuant to Paragraph 139, (3) and (7) "ln light of these
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considerations, we adopt the following conditions for each exempted call (voice call or

text message) made by a financial institution:

3) voice calls and text messages are strictly limited to purposes discussed in paras.

 129-137 above and must not include any telemarketing, cross-marketing, solicitation,

debt collection, or advertising content;

7) a financial institution must honor opt-out requests immediately."

        28.    Defendant is in violation of the TCPA paragraphs 139 (3) for, upon

information and belief, having used its calls.for debt collection and (7), failing to honor

 Plaintiffs' desire to opt out of telephone communications deipite Plaintiffs clear,

 unequivocal and repeated requests that such automatic calls cease.

        29.     Defendant violated various provisions of the TCPA, including but not

 limited ta 47 USC S227(bXAXiii).

                               DEMAND FOR TRIAL BY JURY

        30.    Plaintiff hereby respectfully requests a trial by jury for all claims and issues

 in his Complaint to which it is or may be entitled to a jury trial.



                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment from the Defendant as follows:

               A.      For trebled damages to be awarded to the Plaintiff in accordance

with the TCPA, for each of the Defendant's willful or knowing violations of the TCPA.

               B.      A declaration that the Defendant's practices violated the TCPA;

               C.      For any such other and further relief, as well as further costs,

 expenses and disbursements of this action, as this Court may deem just and proper.
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 Dated. July 1 1,2018



                                      Respectfully submitted,


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                            EDWARD B. GELLER, ESQ., P.C., OF COUNSEL TO
                                 M. Harvey Rephen & Associates, P.C.
                                 15 Landing Way
                                 Bronx, New York 1A464
                                Tel:(914)473-6783

                                      Attomey for the Plaintiffs'i
                                      OSHER ROTKIN




      To: BANK OF AMERICA
          1OO NORTH TYON STREET
          CHARLOTTE, NC 28255



      (Via Prescribed Seruice)

      Clerk of the Court,
      United States District Court, District of New Jersey
      Clarkson S. Fisher Building & U.S. Courthouse
      402 East State Street Room 2020
      Trenton, New Jersey 08608


      {Via Electronic Court Filing)
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                                              AFFIRMAT]ON



     Osher Rotkin, under the penalff of perjury, deposes and says:



            I am   the Plaintiff in the above entitled action. I have read the foregoing
     Amended Complaint and know the contents thereof. The same are true to my

     knowledge, ex€ept as to matters therein stated to be alleged on information and

     belief and as to those matters I believe them to be true.




                                                    ISignature



                                                  'fsher fie*         \dr   la   [Printed]
                                                   Plaintiff



     Affirmed before me this    I   F   day   of T*\1          2018



      {J,f
     Notary Public
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                        Commission Ex1:, ,,t; )l1}l2}i0
                        Cornmission Nu,,,1.,,. 2326240
